SE-MSN Document 1-3 Filed 07/14/16 P



    Court Haies United States District Court
    Divisions 1
    Receipt Hueber; 14683060356
    Cashier IDs rbroaden
    Transaction Dates 07/14/2016
    Payer Haaes VICTOR GLASBERG     :
    CIVIL FILING FEE
    Fisrs VICTOR GLASBERG
     Aoounts         $400.00

    CHECK
     Reaitters VICTOR GLASBERG
     Check/Honey Order.NuBS 21580
     Ast Tendered5   $400,00

    Total Dues
    Total Tendereds $400,
    Change Asts      $0,00
    FILING FEE
    116CVfl97
